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                           UNITED STATES DISTRICT COURT                    PlLPH
                        FOR THE DISTRICT OF SOUTH DAKOTA                   npr
                                  SOUTHERN DIVISION                          ^^2016
                                                                              '4^
     UNITED STATES OF AMERICA,               CR.        //->' Wr^l|
                                                                  I
                           Plaintiff,        INDICTMENT

                                             failure to pay legal child support
  THOMAS G. POTTER,                          ig u.S.C. § 228(a)(3)
                          Defendant.



            The Grand Juiy charges:

            From on or about August 1, 2010, and continuing to the present, in
     the District of South Dakota, defendant, Thomas G. Potter, while residing in
     a different state with respect to his minor child, who resides in South
     Dakota, willfuUy and unlawfully failed to pay a past due support obligation,
     as ordered by the Second Judicial Circuit, Mmnehaha County, South
     Dakota, and which obligation is in an amount greater than $10,000.00 in
     violation of 18 U.S.C. § 228(a)(3).

                                           A TRUE BILL:

                                                NAME REDACTED
                                           Foreperson
RANDOLPH J. SEILER
UNITED STATES ATTORNEY

By
